Case 3:17-cv-00060-GCS Document 196 Filed 12/03/18 Page 1 of 4 Page ID #5835



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

TYRELL WATKINS,                                      )
                                                     )
                                Plaintiff,           ) No. 17-cv-00060-NJR-SCW
                                                     )
                       vs.                           )
                                                     )
EMPLOYEES of WEXFORD HEALTH                          ) Magistrate Judge Stephen C. Williams
SOURCES, INC., NURSE ANGEL RECTOR                    )
AND DR. DENNIS LARSON, EMPLOYEES                     )
OF ILLINOIS DEPARTMENT OF                            )
CORRECTIONS NURSES CAROL FAIRLESS,                   )
DARLENE WINTERS, TRACIE STANFORD,                    )
PAM FRANKLIN, and DARLA LINGLE,                      )
WEXFORD HEALTH SOURCES, INC.,                        )
VIENNA CORRECTIONAL CENTER, POLICE                   )
OFFICERS COLE CARTER, ADAM                           )
HENDERSON, and RON WHITE,                            )
                                                     )
                                Defendants.          )

            PLAINTIFF’S SUBMISSION OF ATTORNEYS’ FEES AND COSTS

       NOW COMES Plaintiff Tyrell Watkins’s counsel Avi Kamionski, Shneur Nathan, and

Natalie Adeeyo (collectively “Plaintiff’s counsel”), and for their Submission of Attorneys’ Fees

and Costs, states as follows:

       1.      On November 29, 2018, this Court held a status conference directing Defendants

to show cause as to why they should not be sanctioned for discovery violations relating to the

disclosure of an inaccurate master roster and the untimely disclosure of a cleaning cycle log.

       2.      After the status conference was held, the Court directed Plaintiff’s counsel to

submit Plaintiff’s attorneys’ fees and costs accrued between August 15, 2017 and November 7,

2018, including time spent preparing for and participating in the show cause hearing on November

29, 2018.
Case 3:17-cv-00060-GCS Document 196 Filed 12/03/18 Page 2 of 4 Page ID #5836



       3.      Plaintiff’s counsel submit their hours for the date range mentioned above, totaling

1,561 hours. Plaintiff’s counsel also included time spent litigating the cleaning cycle log issue and

questioning Cole Carter regarding its acquisition on November 8, 13, 28 and 29 as they relate to

the sanctions issue.

       4.      In support of their request for attorneys’ fees and costs, Plaintiff’s counsel submit

a detailed itemization of time expended by Plaintiff’s counsel on this matter, attached hereto as

Exhibit 1. Plaintiff’s counsel seeks attorneys’ fees in the amount of $532,952.00.

       5.      As Exhibit 1 shows, the following attorneys and paralegal expended the following

time on this matter:




       6.      The respective hourly rates as well as the background and qualifications supporting

this request are contained in the affidavits of Avi Kamionski, attached hereto as Exhibit 2, Shneur

Nathan, attached hereto as Exhibit 3, Natalie Adeeyo, attached hereto as Exhibit 4, Helen

O’Shaughnessy, attached hereto as Exhibit 5, and Naima Rahman-Barber, attached hereto as

Exhibit 6.

       7.      In addition to fees, Plaintiff’s counsel also seeks $57,522.61 in costs incurred

during the relevant time frame. Plaintiff’s counsel have itemized these costs in Exhibit 1.




                                                 2
Case 3:17-cv-00060-GCS Document 196 Filed 12/03/18 Page 3 of 4 Page ID #5837



       WHEREFORE, Plaintiff Tyrell Watkins’s counsel Avi Kamionski, Shneur Nathan, and

Natalie Adeeyo respectfully request an award of attorneys’ fees in the sum of $532,952.00 and

costs in the sum of $57,522.61.

                                                         Respectfully submitted,

                                                         /s/ Natalie Y. Adeeyo
                                                         Natalie Y. Adeeyo, Atty No. 6323542

Avi T. Kamionski
Shneur Z. Nathan
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(312) 612-1072




                                             3
Case 3:17-cv-00060-GCS Document 196 Filed 12/03/18 Page 4 of 4 Page ID #5838



                                CERTIFICATE OF SERVICE

               I, Natalie Y. Adeeyo, an attorney, certify that I served the foregoing document upon

all parties listed on the attached service list by electronic transmission on December 3, 2018.


                                                     /s/ Natalie Y. Adeeyo


SERVICE LIST

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